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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                ABERDEEN DIVISION


LAROSSASA BROWN, Individually, and on
behalf of themselves and other similarly situated
current and former employees,

       Plaintiffs,

v.                                                      Civil Action No.: 1:17-cv-173-SA-DAS

HUDDLE HOUSE, INC.,
a Georgia Corporation,

       Defendant.

_____________________________________________________________________________________

                                    ORDER
______________________________________________________________________________

        This case is before the Court for consideration of the Joint Motion for Conditional

 Certification of the Settlement Collective Action, Approval of Settlement Agreement, and for

 Stipulated Judgment Approving Settlement and Release Agreement. After reviewing the record

 and the joint submission of the parties, the Court enters the following Order.

        Having reviewed the Settlement Agreement and Release (the “Agreement”) executed by

 the parties, the Court finds that the settlement is fair, adequate, and reasonable. The Court finds

 that the Agreement was negotiated at arm’s length by represented parties and is not the result of

 any collusion. The Court has also reviewed the unopposed request for approval of attorneys’

 fees and cost in the amount stated in the Agreement and finds that the attorneys’ fees and costs

 provided in the Agreement are reasonable.

        Therefore, the Joint Motion [24] for Stipulated Judgment Approving Settlement

 Agreement and Release is hereby GRANTED, the Notices attached to the Settlement Agreement
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are APPROVED, the settlement of the parties is hereby APPROVED, and the terms of the

parties’ Settlement Agreement are hereby incorporated into this Order. For settlement purposes

only, the Court hereby certifies a collective action as set forth in the Parties’ Joint Motion.

       The Parties shall send out the notices and tender all required payments pursuant to the

Parties’ Settlement Agreement and Joint Motion for Approval.                Therefore, the Court

DISMISSES THIS LAWSUIT WITH PREJUDICE.                       This dismissal shall be subject to

reopening for the purposes of settlement enforcement actions pursuant to the terms of the

Agreement.

       SO ORDERED this 27th day of July, 2018.

                                                     /s/ Sharion Aycock
                                                     UNITED STATES DISTRICT JUDGE
